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                                       UNITED STATES DISTRICT COURT
    8
                                      NORTHERN DISTRICT OF CALIFORNIA
    9
                                             SAN JOSE DIVISION
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   11     ERIC SCHMIDT, an individual residing in      CASE NO.:
          California; MAPLE BEACH VENTURES ONE,
   12     LLC, a Delaware limited liability company;
          TSFV HOLDINGS, LLC, a Delaware limited       [PROPOSED] JUDGMENT
   13     liability company; and AS MANAGEMENT,
          LLC, a Delaware limited liability company,
   14
                       Petitioners,
   15
          v.
   16
          DEREK RUNDELL, an individual residing in
   17     Colorado; MAPLE BEACH VENTURES, LLC,
          a Nevada limited liability company;
   18     STARTERNOISE, a business entity form
          unknown; STUDENT DEALS, a business entity
   19     form unknown; and TENNYSON COMPANY,
          LLC, a Colorado limited liability company,
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                       Respondents.
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          [PROPOSED] JUDGMENT                                         CASE NO. __________________
2272391
              Case 3:23-cv-01527-VC Document 1-2 Filed 03/30/23 Page 2 of 4



    1            The issues having been duly heard and the Court having granted Petitioner’s Motion to
    2     Confirm Arbitration Award, it is hereby Ordered and Adjudged that:
    3            1.      Judgment shall be and hereby is entered in favor of Petitioners Eric Schmidt, Maple
    4     Beach Ventures One, LLC, TSFV Holdings, LLC, and AS Management, LLC (collectively,
    5     “Petitioners”) and against Respondents Derek Rundell, Maple Beach Ventures, LLC, StarterNoise,
    6     Student Deals, and Tennyson Company, LLC (collectively “Respondents”), jointly and severally, in
    7     conformity with the Arbitration Consent Award issued by the Honorable Vaughn R. Walker, acting
    8     as the duly appointed arbitrator in the AAA arbitration titled Eric Schmidt, et al. v. Derek Rundell, et
    9     al., AAA Case No. 01-21-0017-3351;
   10            2.      Petitioners are hereby awarded and shall receive from Respondents, jointly and
   11     severally, $2,052,250 (the “Award Amount”), and judgment shall be and hereby is entered
   12     accordingly;
   13            3.      Petitioners are hereby awarded and shall receive from Respondents, jointly and
   14     severally, $_________________ in pre-judgment interest from March 20, 2023 through the date of
   15     entry of this Judgment (___ days * $562.26 in daily interest), and judgment shall be and hereby is
   16     entered accordingly;
   17            4.      Petitioners are hereby awarded post-judgment interest at the rate of 10% per annum
   18     on the Award Amount from the date hereof until paid in full; and
   19            5.      Petitioners are the prevailing parties pursuant to the February 4, 2023 Forbearance
   20     Agreement between Petitioners and Respondents, and Petitioners are awarded their costs and fees,
   21     including attorneys’ fees, incurred to enforce the Forbearance Agreement following Respondents’
   22     failure to pay Petitioners the amount owed pursuant to the Forbearance Agreement, including the
   23     prosecution of these proceedings, and Petitioners may file a motion for their costs and fees,
   24     including attorneys’ fees, within 30 days of entry of this judgment.
   25            IT IS SO ORDERED AND JUDGMENT IS HEREBY ENTERED ACCORDINGLY.
   26
          Dated: __________________________                      __________________________________
   27
                                                                 United States District Court Judge
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          [PROPOSED] JUDGMENT                                                      CASE NO. __________________
2272391
         Case 3:23-cv-01527-VC Document 1-2 Filed 03/30/23 Page 3 of 4



1                                          PROOF OF SERVICE
2                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
3            I am employed in the County of Los Angeles, State of California; I am over the age of 18
     and not a party to the within action; my business address is 10250 Constellation Boulevard, 19th
4    Floor, Los Angeles, California 90067.
5           On March 30, 2023 I served the foregoing document(s) described as [PROPOSED]
     JUDGMENT on the interested parties to this action by delivering a copy thereof in a sealed
6
     envelope addressed to each of said interested parties at the following address(es):
7
                                           SEE ATTACHED LIST
8
           (BY MAIL) I am readily familiar with the business practice for collection and processing of
            correspondence for mailing with the United States Postal Service. This correspondence shall
9
            be deposited with the United States Postal Service this same day in the ordinary course of
            business at our Firm's office address in Los Angeles, California. Service made pursuant to
10
            this paragraph, upon motion of a party served, shall be presumed invalid if the postal
            cancellation date of postage meter date on the envelope is more than one day after the date of
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            deposit for mailing contained in this affidavit.
12
           (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be electronically
            filed using the Court’s Electronic Filing System which constitutes service of the filed
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            document(s) on the individual(s) listed on the attached mailing list.
14
           (BY E-MAIL SERVICE) I caused such document to be delivered electronically via e-mail
            to the e-mail address of the addressee(s) set forth in the attached service list.
15
           (BY OVERNIGHT DELIVERY) I served the foregoing document by FedEx, an express
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            service carrier which provides overnight delivery, as follows: I placed true copies of the
            foregoing document in sealed envelopes or packages designated by the express service
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            carrier, addressed to each interested party as set forth above, with fees for overnight delivery
            paid or provided for.
18
           (BY FACSIMILE) I caused the above-referenced document to be transmitted to the
19
            interested parties via facsimile transmission to the fax number(s) as stated on the attached
            service list.
20
           (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the offices
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            of the above named addressee(s).
22
           (State)    I declare under penalty of perjury under the laws of the State of California that
                       the above is true and correct.
23
           (Federal) I declare that I am employed in the office of a member of the bar of this court at
24
                       whose direction the service was made. I declare under penalty of perjury that the
                       above is true and correct.
25
            Executed on March 30, 2023, at Los Angeles, California.
26
                                                               /s/ Gabrielle Lee
27
                                                          GABRIELLE LEE
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                                             PROOF OF SERVICE
        Case 3:23-cv-01527-VC Document 1-2 Filed 03/30/23 Page 4 of 4



1                                      SERVICE LIST
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4    New York, New York 10005
     Email: jtripodi@ktpllp.com
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